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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 18-CR-20682-ALTONAGA

  UNITED STATES OF AMERICA

  vs.

  MATTHIAS KRULL,

        Defendant.
  ________________________________________/

        THE GOVERNMENT’S RESPONSE IN OPPOSITION TO THE DEFENDANT’S
                 MOTION TO DELAY DEFENDANT’S SURRENDER

         The United States of America hereby files this Opposition to the defendant Matthias Krull’s

  (the “Defendant”) Motion to Delay Defendant’s Surrender. [ECF No. 109.] The Defendant, who

  engaged in a sophisticated, wide-sweeping, and serious money laundering conspiracy now moves

  this Court to delay his surrender for another six months. That motion should be denied for multiple

  reasons.

                                          BACKGROUND

         On August 22, 2018, the defendant entered a guilty plea to a one-count Information

  charging him with conspiracy to commit money laundering in violation of Title 18, United States

  Code, Section 1956(h). [ECF No. 28, 29, and 30.]

         On October 29, 2019, the Court sentenced the defendant to 120 months of imprisonment

  followed by three years of supervised release. [ECF No. 55 and 56.]

         The Court entered eight Orders delaying the Defendant’s surrender. [ECF No. 53, 61, 65,

  69, 80, 82, 91, and 102.]

         The most recent order, issued on February 22, 2021, extended the defendant’s date of

  surrender until July 2, 2021.
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                                                  ARGUMENT

             As discussed above, the Defendant has been on notice of his impending imprisonment

  since his sentencing on October 29, 2018. He has already received eight Orders delaying his

  sentencing, with the last being issued February 22, 2021. All of the Defendant’s Orders have

  cited to his ongoing cooperation with the government as the primary ground for delay. It is the

  Government’s position that any further delay is unwarranted.

                                    The Defendant’s Non-Designation is Moot

             The government informed counsel for the Defendant yesterday that the Federal Bureau of

  Prisons (“BOP”) had informed the government that nearly two years ago, in 2019, the Defendant

  had been designated to the Miami Federal Correctional Institution (“Miami FCI”). 1 The

  Defendant was supposed to call the United States Marshals Office in order to determine to which

  facility he was designated. As such, Defendant’s argument that he be able to surrender directly

  to his designated facility due to his Type 1 Diabetes rather than to the United States Marshals

  Service is moot. While the Defendant was relying on his Type 1 Diabetes to support his

  surrender to a designated facility, it should be noted that the Defendant’s condition is common

  and stable, he is fully inoculated against COVID-19, and Miami FCI is a low-security facility

  without any known cases of inmates with COVID-19. See Covid-19 Cases,

  https://www.bop.gov/coronavirus/index.jsp (last visited June 28, 2021). In addition, FCI Miami

  follows BOP Modified Operations to prevent the spread of COVID-19. Specifically, the

  protocol, in part, calls for:

                      INTAKES: Prior to entering the institution, or in Receiving and Discharge: All
                      new intakes to an institution, including voluntary surrenders, BOP-to-BOP
                      transfers, or transfers from outside the BOP system are screened by medical staff
                      for COVID-19 - including a symptom screen, a temperature check, and an
                      approved viral PCR test (either an Abbott ID NOW point-of-care [POC] test or a

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      Email on file with undersigned attorneys.

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                 commercial PCR test) performed on a sample obtained from a nasopharyngeal,
                 mid-turbinate, or anterior nares swab.
                 Inmates who arrive symptomatic AND/OR test positive will be placed in
                 MEDICAL ISOLATION.
                 Inmates who arrive asymptomatic AND test negative will be placed in
                 QUARANTINE.
                 If inmates become symptomatic during quarantine, they are re-tested (Abbott or
                 commercial) and placed in MEDICAL ISOLATION immediately.

                 If inmates remain asymptomatic, they remain in QUARANTINE for at least 14
                 days. They are then tested out of quarantine with a COMMERCIAL PCR TEST at
                 14 days or after; if the test is negative, the inmate can be released to the general
                 population. If the test is positive, they are placed in MEDICAL ISOLATION
                 immediately.

         https://www.bop.gov/coronavirus/covid19_status.jsp (emphasis added)(last updated
         November 25, 2020).

         Finally, according to BOP, there are approximately 895 inmates at Miami FCI and 681

  have received full inoculation to date. This is approximately 76 percent of the inmate

  population. COVID-19 Vaccine Implementation, https://www.bop.gov/coronavirus/index.jsp

  (last visited June 28, 2021).

       The Defendant’s Personal and Family Circumstances Do Not Warrant Further Delay

         The Defendant’s personal and family circumstances do not involve an extraordinary or

  compelling situation requiring further delay. In fact, the Defendant has been on notice of his

  imprisonment for over 900 days, yet for the first time, when notified that the government

  opposes the delay in surrender, he submits that he needs an additional 180 days to put his

  personal affairs in order. He does not say what personal affairs he must put in order or why they

  would take six months or why he was unable to use the 900 plus days previously afforded. As

  for his family circumstances, the Defendant cites the potential interruption of his son’s Moderate

  Fluency Disorder treatment and associated risk that his son may develop anxiety as a result.

  While the Government is sympathetic to the Defendant’s circumstances, again, the Defendant



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  has been on notice of his imprisonment for over 900 days, yet for the first time, when notified

  that the government opposes the delay in surrender, he produces a doctor’s note from his son’s

  doctor that the son has been seeing for nearly two years that supports a consistent home

  environment, one involving the defendant’s presence, that would allow his son’s treatment to

  maintain progress. The note does not state that the defendant’s participation is vital or that the

  defendant is needed for the next six months. The Defendant’s situation, however, is not unique

  from the hundreds or thousands of other individuals facing imprisonment except that the

  Defendant has had over 900 days to settle his affairs. His circumstances, while heavyhearted, do

  not warrant further delay.

             The Defendant’s Ongoing Cooperation Does Not Warrant Further Delay

         The Government has repeatedly supported the Defendant’s previous motions to delay his

  surrender on the ground of continued cooperation. However, it is now the government’s position

  that the Defendant’s ongoing cooperation does not require him to remain out on bond any longer.

  And, respectfully, the Government is in the best position to evaluate the Defendant’s cooperation

  and the requirements needed for its success, not the Defendant.

                                            CONCLUSION

         The Government fully understands the hardships of imprisonment on the Defendant and

  his family members, but the public has an interest in seeing justice done in this case without further

  delay. As the Eleventh Circuit has stated, “a delay in commencement of sentence cannot, by itself,

  constitute service of that sentence.” United States v. Barfield, 396 F.3d 1147 (11th Cir. 2004). It

  is time for the Defendant to begin his sentence.




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        Respectfully Submitted,

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